Case 1:21-cr-00229-RBJ Document 251-1 Filed 04/12/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case,

For Witness:

Question:

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Juror Question (s)

 

 

 

 

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not to the Judge or attorneys.

 

 

Juror Questioning
Procedure

Please write your question
in a clear and legible manner.

Your question must be
submitted in writing and using
this form. Please do not
identify yourself in any way on
the form.

The Judge will make a
determination whether or not
the question is proper. The
Judge will use the same
standards that are applied to
questions offered by attorneys.
Existing rules of law, evidence,
and procedures apply to every
question that is asked.

The Judge may need to
modify the question to make it
conform to legal standards or to
make the question clearer to the
witness.

If the question can be
asked, the Judge will read it to
the witness at an appropriate
time before the witness is
excused.

 

 

If additional space is needed, please use the back of this form.

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Question No. ~ t /

ACTION BY THE COURT:

O-Fermitted

O Denied
O Rephrased

 

 

Page 1 of 7
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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

For Witness:

 

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Juror Questioning
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Question No. 4L

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case,

 

Case 1:21-cr-00229-RBJ Document 251-1 Filed 04/12/22 USDC Colorado

not to the Judge or attorneys.

 

Dr. fietre Cre mitux

 

 

 

 

 

 

 

For Witness:

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Juror Questioning
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Question No. Y 4

ACTION BY THE COURT: (Permitted

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Please remember, fou may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: Dr. ferre Crem tur

 

 

Juror Questioning

 

 

Procedure
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Question No. UY

ACTION BY THE COURT: (permitted

 

 

 

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